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 5                              UNITED STATES DISTRICT COURT
 6                             EASTERN DISTRICT OF CALIFORNIA
 7
 8   ASSYRIAN AMERICAN NATIONAL                          CASE NO. CV F 13-0890 LJO SAB
     FEDERATION, a New York not-for-
 9   profit corporation,                                 TEMPORARY RESTRAINING
10                                                       ORDER
                           Plaintiff,                    (Doc. 10.)
11
12          vs.
13
14   ASSYRIAN AMERICAN NOTIONAL
     FEDERAL, a California corporation, et al.,
15
16                         Defendants.

17   ______________________________/
18                PRELIMINARY STATEMENT TO THE PARTIES AND COUNSEL
19          Judges in the Eastern District of California carry the heaviest caseload in the nation,
20   and this Court is unable to devote inordinate time and resources to individual cases and
21   matters. This Court cannot address all arguments, evidence and matters raised by parties and
22   addresses only the arguments, evidence and matters necessary to reach the decision in this
23   order given the shortage of district judges and staff. The parties and counsel are encouraged to
24   contact United States Senators Diane Feinstein and Barbara Boxer to address this Court’s
25   inability to accommodate the parties and this action. The parties are required to consider, and
26   if necessary, to reconsider consent to a U.S. Magistrate Judge to conduct all further
27   proceedings in that the Magistrate Judges’ availability is far more realistic and accommodating
28   to parties than that of U.S. District Judge Lawrence J. O'Neill who must prioritize criminal and
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 1   older civil cases. A Magistrate Judge consent form is available on this Court’s website.
 2           Civil trials set before Judge O'Neill trail until he becomes available and are subject to
 3   suspension mid-trial to accommodate criminal matters. Civil trials are no longer reset to a later
 4   date if Judge O'Neill is unavailable on the original date set for trial. If a trial trails, it may
 5   proceed with little advance notice, and the parties and counsel may be expected to proceed to
 6   trial with less than 24 hours notice. Moreover, this Court’s Fresno Division randomly and
 7   without advance notice reassigns civil actions to U.S. District Judges throughout the nation to
 8   serve as visiting judges. In the absence of Magistrate Judge consent, this action is subject to
 9   reassignment to a U.S. District Judge from outside the Eastern District of California. Case
10   management difficulties, including trial setting and interruption, are avoided if the parties
11   consent to conduct of further proceedings by a U.S. Magistrate Judge.
12                                                  ORDER
13           Plaintiff Assyrian American National Federation, Inc., a New York not-for-profit

14   corporation ("plaintiff"), seeks to enjoin defendants Ramin Odisho, Assyrian American

15   National Federation, Inc., a California corporation ("California AANF"), Assyrian American

16   National Federal, Inc., an Illinois corporation ("Illinois AANF"), and other individual

17   defendants to use and infringe on plaintiff's trade name and mark. After review of the parties'

18   papers and on the basis of good cause, this Court:

19           1.      ENJOINS Ramin Odisho, California AANF, Illinois AANF, and their directors,

20   officers, employees and agents from:

21                   A.      Using plaintiff’s name, Assyrian American National Federation, Inc., or any

22   confusingly similar variation thereof, in the marketing, advertising, or promotion of their business

23   activities;

24                   B.      Using plaintiff’s mark, which consists of an insignia depicting a five-

25   legged, winged lion standing over a chain strewn above an open book bearing traditional Christian

26   and intellectual symbols with the name Assyrian American National Federation, Inc. printed along

27   the bottom of the seal and Aramaic writing printed along the top, or any confusingly similar

28   variation thereof, in the marketing, advertising, or promotion of their business activities;

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 1                                   C.      Using plaintiff's name and mark (identified above) in marketing,
 2   advertising or promoting a Labor Day Weekend convention in Las Vegas; and
 3                                   D.      Holding out or referencing their Labor Day Weekend convention in Las
 4   Vegas as an "80th Annual Convention," or any confusingly similar variation thereof;
 5                            2.     ORDERS plaintiff to serve this order on all defendants in this action;
 6                            3.     ORDERS defendants in this action, no later than July 22, 2013, to file and serve
 7   papers to oppose a preliminary injunction as to use of plaintiff's trade name and mark; and
 8                            4.     ORDERS plaintiff, no later than July 29, 2013, to file and serve reply papers as
 9   to a preliminary injunction.
10                            This Court will treat plaintiff's papers filed on June 21, 2013 (doc. 10) as plaintiff's
11   opening moving papers for a preliminary injunction. Pursuant to its practice, this Court will
12   consider issuance of a preliminary injunction on the record without a hearing.
13                            This temporary restraining order will remain in effect until this Court orders otherwise.

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17   IT IS SO ORDERED.

18                         Dated:   June 27, 2013                              /s/ Lawrence J. O’Neill
19   DEAC_Signature-END:
                                                                           UNITED STATES DISTRICT JUDGE

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